                                            1:24-cr-00232
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    FILED
                                            Judge Robert W. Gettleman
                         QR                 Magistrate Judge Maria Valdez
       10/10/2024 UNITED STATESCAT.                3
                                              DISTRICT   COURT
              . BRUTO N
   THOMA.SDGISTRIC T C O U R T
                               NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S
                                    EASTERN DIVISION

     UNITED STATES OF AMERICA                       No. 24 CR 232

                        v.                          Judge Robert W. Gettleman

     ANOSH AHMED,                                   Violations: Title 18, United States
     SAMEER SUHAIL,                                 Code,     Sections      666(a)(1)(A),
     HEATHER BERGDAHL, and                          666(a)(1)(B), 666(a)(2), 371, 1343,
     GEORGE MILLER, JR.                             1956(a)(1(B)(i), and 2, and Title 26,
                                                    United States Code, Section
                                                    7206(1)

                                                    Second Superseding Indictment

                        COUNTS ONE THROUGH FOURTEEN

          The SPECIAL JANUARY 2023 GRAND JURY charges:

          1.    At times material to the indictment:

                a.     Hospital A was a hospital in Chicago, Illinois, that received, in

    any one year period, including from at least 2018 through at least 2022, benefits in

    excess of $10,000 under a Federal program, including Medicare and Medicaid.

    Hospital A issued payments to vendors that provided goods and services to the

    hospital through a computerized vendor payment system. Hospital A maintained

    bank accounts at Bank D, which was located in Illinois.

                b.     Defendant ANOSH AHMED was employed by Hospital A

    between in or around December 2017 and March 26, 2021, serving as the hospital’s

    Chief Operating Officer (COO) and, between in or around July 2018 and the end of

    his employment, as the hospital’s Chief Financial Officer (CFO). As CFO, AHMED

    was a senior executive responsible for managing Hospital A's finances, including its

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Finance, Accounting, and Accounts Payable Departments. As COO, AHMED was

second in command to the Chief Executive Officer and was responsible for the

hospital's day-to-day operations. AHMED was also the owner and operator of a

company named Global Healthcare Consulting Group LLC (“Global Healthcare”).

AHMED maintained bank accounts at Bank B in his name and the names of entities

he controlled.

              c.   Defendant SAMEER SUHAIL was a medical doctor who owned

and operated multiple medical supply and service entities, including American

International Clinical Group Ltd., and Shenzhen Medical Supplies. SUHAIL

maintained bank accounts at Bank A in his name and the names of entities he

controlled.

              d.   Defendant HEATHER BERGDAHL was employed by Hospital A

as the hospital’s Chief Transformation Officer and a supervisor of the hospital’s

Accounts Payable Department from on or about February 23, 2020 through in or

around March 2022, and continued as an agent of Hospital A until on or about April

12, 2022. BERGDAHL’s responsibilities at Hospital A included reviewing and

approving invoices and bills for payment; submitting requests for vendor payments;

paying invoices and bills; requesting, generating, issuing and printing checks for

payment for goods and services; and processing credit card payments for goods and

services. BERGDAHL maintained bank accounts at Bank C in her name and the

names of entities she controlled.




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             e.    Defendant GEORGE MILLER, JR. was the Chief Executive

Officer at Hospital A from on or about November 1, 2017 to on or about April 12, 2022.

As CEO, MILLER was the highest ranking executive at Hospital A, and his

responsibilities included making major corporate decisions, supervising         other

executives, managing operations and resources, and acting as the main point of

communication between the board of directors and corporate operations. MILLER

maintained bank accounts at Bank D in his name.

             f.    Employee B was employed by Hospital A in its Accounts Payable

Department. Employee B’s responsibilities included issuing checks to Hospital A

vendors based on vendor payment requests submitted through the hospital’s

computerized vendor payment system and as directed by BERGDAHL.

             g.    Individual C was an associate of AHMED who lived in Texas and

who was the owner and operator of Vendor C, an entity registered in Texas.

             h.    Individual D was an associate of AHMED, BERGDAHL, and

MILLER, who performed a variety of tasks, including tasks at Hospital A, at the

direction of AHMED and BERGDAHL.

      2.     Beginning no later than in or around April 2018 and continuing to at

least in or around May 2022, in the Northern District of Illinois, and elsewhere,

                                ANOSH AHMED,
                              SAMEER SUHAIL, and
                              HEATHER BERGDAHL,

defendants herein, together with others known and unknown to the Grand Jury,

knowingly devised, intended to devise, and participated in a scheme to defraud, and



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to obtain money and funds owned by and under the custody and control of, Hospital

A, by means of materially false and fraudulent pretenses, representations and

promises, as further described below.

      3.     It was part of the scheme that AHMED, SUHAIL, and BERGDAHL (the

“defendants”), for the purpose of obtaining more than approximately $15 million in

Hospital A funds, prepared and submitted to Hospital A, and caused to be prepared

and submitted to Hospital A requests for vendor payments, which requests falsely

and fraudulently, among other things: (1) represented that Hospital A owed each

purported vendor payment for goods and services that Hospital A had in fact not

received, (2) directed those payments to entities controlled by one or more of the

defendants, and (3) caused Hospital A to issue payments consistent with the requests

submitted through the hospital’s computerized vendor payment system, including

payments issued by Employee B.

      4.     It was further a part of the scheme that, in order to conceal the scheme

to defraud, AHMED, SUHAIL, and BERGDAHL created and caused to be created

fictitious documents, including fictitious invoices, payment requests, delivery receipts

and other documents, which contained false information about goods and services

provided by entities associated with AHMED, SUHAIL, BERGDAHL, Individual C,

and Individual D, and false information about goods and services purportedly

provided to Hospital A.




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                     Creation of Fictitious Vendor Names and
                        Fictitious Vendor Bank Accounts

       5.       It was further part of the scheme that SUHAIL and AHMED created

numerous additional names for existing companies (“doing business as” names, or

“DBA” names) that they respectively owned and controlled and added those

additional names to bank accounts that each opened and controlled, knowing that

they would submit, and cause to be submitted, false and fraudulent payment requests

to Hospital A in the names of those companies. SUHAIL and AHMED created these

additional company names to conceal their association with the companies and the

fraudulently obtained payments that they would receive from Hospital A.

Specifically:

                a.   SUHAIL created DBA and assumed names for existing companies

and bank accounts that he owned and controlled, including: Vitality Medical

Solutions,       Adventhealth   Solutions,   Comprehensive      Medical     Group,

HospitalConsulting USA LLC, ECG Partners, Elite Medical Personnel, Unified

Wellness Specialists, Westside Med Consultants, Maximum Healthcare Solutions,

Inc., Mint Staffing Agency, Austin Outpatient Pharmacy, Allegra Pharmaceuticals,

Women’s Health Solutions, Industrial Emergency Products, Premier Chicago Health

Group, Renaissance Medical Group, Westside EMS Supplies, Allied Protective

Equipment, Westside EMS Supplies, Midwest Medline Supplies Inc., Superior

Medical, Medpro Healthcare Staffing, TherapeuticsMD, Converge Biotech, CoreRX,

and Optimum Bioscience (together, the “Fictitious Suhail Vendors”); and




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             b.    AHMED opened and controlled four business bank accounts in

the name of an existing entity which he controlled, to which he added to the accounts

the names of additional purported entities, including: Medlabs USA, Chicago

Promotions Ltd., Illinois Biotech Co., and Midwest Medical Supplies (together, the

“Fictitious Ahmed Vendors”).

      6.     It was further part of the scheme that AHMED and BERGDAHL caused

Individual D, who did handyman projects at a property leased and subsequently

owned by AHMED (“Ahmed Property”), to incorporate a company in Ohio called

“Mideast Contractors,” knowing that they would submit, and cause to be submitted,

false and fraudulent payment requests to Hospital A in the name of Mideast

Contractors. AHMED and BERGDAHL caused Individual D to incorporate as

Mideast Contractors for the purpose of concealing from Hospital A Individual D’s

association with any requests for payment and invoices submitted to Hospital A for

work purportedly performed by Mideast Contractors.

      7.     It was further part of the scheme that BERGDAHL opened bank

accounts in the names of two legitimate Hospital A vendors (Vendors A and B) and

registered a sole proprietorship in Texas under the name of each Hospital A Vendor,

knowing that she would submit false and fraudulent payment requests to Hospital A

in the names of those legitimate vendors and thereafter deposit those payments into

bank accounts that she controlled. BERGDAHL opened these bank accounts in the

names of Vendors A and B because she wanted to conceal her association with the




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fraudulently obtained proceeds and to make Hospital A believe that those payments

were directed to legitimate Hospital A vendors.

                   Issuance of Hospital A Payments Based on
                     Fraudulent Vendor Payment Requests

                                 Suhail Payments

      8.     It was further part of the scheme that, between in or about September

2020 and February 2022, SUHAIL and BERGDAHL prepared and submitted to

Hospital A, and caused to be prepared and submitted to Hospital A, requests for

payments to the Fictitious Suhail Vendors, which requests falsely and fraudulently

represented that each Fictitious Suhail Vendor had provided goods or services to

Hospital A. SUHAIL and BERGDAHL knew at the time that the Fictitious Suhail

Vendors had not provided any goods or services to Hospital A. As a result of these

vendor payment requests, SUHAIL and BERGDAHL caused Hospital A to transfer

at least approximately $11.4 million into various SUHAIL-controlled bank accounts,

on behalf of Fictitious Suhail Vendors, including:

             a.    approximately $177,394 to Vitality Medical Solutions;

             b.    approximately $27,990 to Adventhealth Solutions;

             c.    approximately $63,999 to Comprehensive Medical Group;

             d.    approximately $222,000 to HospitalConsulting USA LLC;

             e.    approximately $294,137 to ECG Partners;

             f.    approximately $325,382 to Elite Medical Personnel;

             g.    approximately $73,481 to Unified Wellness Specialists;

             h.    approximately $71,999 to Westside Med Consultants;


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             i.    approximately $3,021,035 to Maximum Healthcare Solutions,

Inc.;

             j.    approximately $270,604 to Mint Staffing Agency;

             k.    approximately $3,661,709 to Austin Outpatient Pharmacy;

             l.    approximately $72,899 to Allegra Pharmaceuticals;

             m.    approximately $127,093 to Women’s Health Solutions;

             n.    approximately $19,800 to Industrial Emergency Products;

             o.    approximately $257,998 to Premier Chicago Health Group;

             p.    approximately $127,199 to Renaissance Medical Group;

             q.    approximately $155,817 to Westside EMS Supplies;

             r.    approximately $867,574 to Allied Protective Equipment;

             s.    approximately $29,899 to Westside EMS Supplies;

             t.    approximately $155,983 to Midwest Medline Supplies Inc.;

             u.    approximately $88,428 to Superior Medical;

             v.    approximately $255,577 to Medpro Healthcare Staffing;

             w.     approximately $117,918 to TherapeuticsMD;

             x.    approximately $183,003 to Converge Biotech;

             y.    approximately $319,999 to CoreRX; and

             z.    approximately $423,824 to Optimum Bioscience.

        9.   It was further part of the scheme that, between in or about April 2020

and March 2021, AHMED, SUHAIL, and BERGDAHL prepared and submitted to

Hospital A, and caused to be prepared and submitted to Hospital A, multiple false



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invoices, which falsely and fraudulently represented that SUHAIL-affiliated entities

had provided goods or services to Hospital A. AHMED, SUHAIL and BERGDAHL

knew at the time that the SUHAIL-owned companies identified in the invoices had

not provided Hospital A the goods or services identified in those invoices and were

not entitled to the requested payments. As a result of their submission of these false

invoices and fraudulent vendor payment requests, AHMED, SUHAIL and

BERGDAHL caused Hospital A to transfer more than approximately $3.6 million into

one or more SUHAIL-controlled bank accounts, including:

             a.    approximately $985,000 to American International Clinical

Group Ltd.; and

             b.    approximately $2.7 million to Shenzhen Medical Supplies.

      10.    It was further part of the scheme that, in or around April 2021 and in

response to an internal hospital inquiry into the hospital’s payments to Shenzhen

Medical Supplies, AHMED and BERGDAHL falsely represented that Shenzhen had

delivered medical supplies, including representations made in emails and other

documents that were provided or caused to be provided to Hospital A employees and

auditors. AHMED and BERGDAHL knew at the time that Shenzhen had not

delivered medical supplies to Hospital A as described in their representations.

      11.    It was further part of the scheme, between in or about May 2021 and

January 2022, AHMED, SUHAIL and BERGDAHL prepared and submitted to

Hospital A, and caused to be prepared and submitted to Hospital A, requests to pay

approximately $34,000 in credit card charges made for the purchase of four copier



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machines and related products from Copier Company A, which requests falsely and

fraudulently represented that BERGDAHL had purchased the copier machines and

related products for the benefit of Hospital A. AHMED, SUHAIL and BERGDAHL

knew at the time that BERGDAHL had in fact purchased the copier machines and

related products for the personal use and benefit of SUHAIL and AHMED and had

the copiers delivered to various properties controlled by SUHAIL in Illinois and

AHMED in Texas. As a result of these payment requests, AHMED, SUHAIL and

BERGDAHL caused Hospital A to pay approximately $34,000 to a credit card

company for copiers and related products provided to AHMED and SUHAIL.

                                   Ahmed Payments

      12.   It was further part of the scheme that, between on or about June 11,

2021, and November 29, 2021, AHMED and BERGDAHL prepared and submitted to

Hospital A, and caused to be prepared and submitted to Hospital A, at least 11

requests for payments to the Fictitious Ahmed Vendors, which requests falsely and

fraudulently represented that each Fictitious Ahmed Vendor had provided goods and

services to Hospital A. AHMED and BERGDAHL knew at the time that the Fictitious

Ahmed Vendors had not provided any goods or services to Hospital A. As a result of

these vendor payment requests, AHMED and BERGDAHL caused Hospital A to

transfer more than $486,000 into various AHMED-controlled bank accounts, by way

of approximately 11 Hospital A checks made payable to four Fictitious Ahmed

Vendors, including transferring:

            a.     approximately $196,949 to Medlabs USA;

            b.     approximately $89,999 to Chicago Promotions;
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            c.    approximately $121,825 to Illinois Biotech; and

            d.    approximately $77,764 to Midwest Medical Supplies.

      13.   It was further part of the scheme that, between on or about August 14,

2020, and on or about December 31, 2021, AHMED and BERGDAHL prepared and

submitted to Hospital A, and caused to be prepared and submitted to Hospital A,

approximately 19 requests for payment to Individual D’s company, Mideast

Contractors, which requests falsely and fraudulently represented that Mideast

Contractors had provided goods or services to Hospital A in the amount represented

by the payment request. BERGDAHL also caused to be submitted to Hospital A an

invoice which made false representations about contractor work purportedly done by

Mideast Contractors. AHMED and BERGDAHL knew at the time that Mideast

Contractors had not provided any goods or services to Hospital A, and instead knew

that Individual D was performing handyman services for AHMED at the Ahmed

Property. As a result of these vendor payment requests, AHMED and BERGDAHL

caused Hospital A to transfer approximately $92,285 to Mideast Contractors and

Individual D.

                              Bergdahl Payments

      14.   It was further part of the scheme that, between in or about October 2020

and March 2022, BERGDAHL prepared and submitted to Hospital A at least 16

requests for payments to Vendors A and B, which requests falsely and fraudulently

represented that Hospital A owed each vendor money for goods or services.

BERGDAHL knew at the time that Vendors A and B had not requested and were not

owed the requested amounts and that she intended to keep the requested payments
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for herself. As a result of these vendor payment requests, BERGDAHL caused

Hospital A to transfer more than $56,690 into three BERGDAHL-controlled bank

accounts, by way of approximately 16 Hospital A checks made payable to Vendors A

and B, including:

               a.    approximately 15 checks totaling approximately $46,690 made

payable to Vendor A; and

               b.    approximately one check in the amount of approximately $10,000

made payable to Vendor B.

                                 Vendor C Payments

      15.      It was further part of the scheme that, between on or about May 1, 2020,

and on or about March 15, 2021, BERGDAHL prepared and submitted to Hospital A,

and caused to be prepared and submitted to Hospital A, duplicate requests to pay

Vendor C for services purportedly provided to Hospital A, which requests falsely and

fraudulently represented that Vendor C was owed money for services that Vendor C

already had been paid for. BERGDAHL knew at the time that Hospital A had already

issued payment for the services on which each request was based and that Vendor C

was not entitled to additional payment. As a result of these false and fraudulent

requests, BERGDAHL caused Hospital A to transfer approximately $158,400 in

duplicate payments into Individual C-controlled bank and credit accounts, on behalf

of Vendor C.

      16.      It was further part of the scheme that, to conceal the duplicate payments

to Vendor C, BERGDAHL caused Hospital A to use two different methods of payment,



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namely, monthly payments by way of both Hospital A checks and payments to a credit

card processing account opened in the name of Vendor C.

      17.    It was further part of the scheme that, to conceal the duplicate payments

to Vendor C, BERGDAHL falsely and fraudulently (a) recorded the payments as

expenses incurred by Hospital A’s Human Resources department; (b) recategorized

the expenses as incurred under Hospital A’s general business account when

confronted   about   the   expenses   by    a   Human   Resources      employee;   and

(c) misrepresented the total amount of Hospital A money paid to Vendor C when

questioned about the payments by Hospital A’s general counsel, disclosing only the

total amount of Hospital A checks issued to Vendor C in 2021 and nothing about the

checks issued in 2020 or the monthly credit card payments made to the company in

2020 and 2021.

                           Disposition of Fraud Proceeds

      18.    It was further part of the scheme that, through the submission of the

false and fraudulent vendor payment requests, AHMED, SUHAIL, and BERGDAHL

caused Hospital A to transfer and pay more than approximately $15,000,000 in

proceeds from Hospital A into bank accounts that the defendants controlled, which

proceeds the defendants obtained for their personal use and benefit.

      19.    It was further a part of the scheme that through the submission of false

and fraudulent vendor payments, AHMED and BERGDAHL caused Hospital A to

transfer hospital proceeds into bank accounts controlled by Individuals C and D, and

Individuals C and D used proceeds for their own personal benefit.



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         20.   It was further part of the scheme that AHMED, SUHAIL, and

BERGDAHL transferred proceeds of the scheme to each other and to their associates,

including MILLER.

         21.   It was further part of the scheme that AHMED, SUHAIL, and

BERGDAHL misrepresented, concealed, and hid, and caused to be misrepresented,

concealed, and hidden, the existence and purpose of the scheme and the acts done in

furtherance of the scheme.

         22.   On or about the dates set forth below, in the Northern District of Illinois,

Eastern Division, and elsewhere, the defendants, as set forth below, for the purpose

of executing the above-described scheme, knowingly caused to be transmitted by

means of wire communication in interstate commerce certain writings, signs, and

signals, listed below, each such writing, sign, and signal constituting a separate

count:

   Count         Defendants             Date       Writing, Sign, and Signal
    One        ANOSH AHMED,         April 10, 2020 a wire transmission of
                  SAMEER                           approximately $102,350 from Bank
                  SUHAIL,                          D to Bank A, processed through
                    and                            servers located outside the state of
                 HEATHER                           Illinois, which funds represented
                 BERGDAHL                          the proceeds of a Hospital A check
                                                   issued to Shenzhen Medical
                                                   Supplies, Ltd.

    Two           HEATHER            May 15, 2020     a wire transmission of
                  BERGDAHL                            approximately $14,400 from Bank
                                                      D to Bank B, processed through
                                                      servers located outside the state of
                                                      Illinois, which funds represented
                                                      the proceeds of a Hospital A check
                                                      issued to Vendor C



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Count       Defendants            Date        Writing, Sign, and Signal
Three     ANOSH AHMED,        July 31, 2020   a wire transmission of
             SAMEER                           approximately $150,000 from Bank
             SUHAIL,                          D to Bank A, processed through
               and                            servers located outside the state of
            HEATHER                           Illinois, which funds represented
            BERGDAHL                          the proceeds of a Hospital A check
                                              issued to Shenzhen Medical
                                              Supplies, Ltd.

 Four     ANOSH AHMED,         August 31,     a wire transmission of
             SAMEER              2020         approximately $90,000 from Bank
             SUHAIL,                          D to Bank A, processed through
               and                            servers located outside the state of
            HEATHER                           Illinois, which funds represented
            BERGDAHL                          the proceeds of a Hospital A check
                                              issued to Shenzhen Medical
                                              Supplies, Ltd.

 Five        SAMEER            October 9,     a wire transmission of
             SUHAIL              2020         approximately $48,930.20 from
               and                            Bank D to Bank A, processed
            HEATHER                           through servers located outside the
            BERGDAHL                          state of Illinois, which funds
                                              represented the proceeds of a
                                              Hospital A check issued to Unified
                                              Wellness Specialists

  Six        HEATHER           October 16,    a wire transmission of
             BERGDAHL             2020        approximately $10,000 from Bank
                                              D to Bank C, processed through
                                              servers located outside the state of
                                              Illinois, which funds represented
                                              the proceeds of a Hospital A check
                                              issued to Vendor B

Seven        SAMEER            January 21,    a wire transmission of
             SUHAIL               2021        approximately $30,299 from Bank
               and                            D to Bank B, processed through
            HEATHER                           servers located outside the state of
            BERGDAHL                          Illinois, which funds represented
                                              the proceeds of a Hospital A check
                                              issued to Allegra Pharmaceuticals


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Count       Defendants          Date        Writing, Sign, and Signal
Eight        SAMEER            March 10,    a wire transmission of
             SUHAIL              2021       approximately $30,127 from Bank
               and                          D to Bank D, processed through
            HEATHER                         servers located outside the state of
            BERGDAHL                        Illinois, which funds represented
                                            the proceeds of a Hospital A check
                                            issued to Optimum Bioscience
 Nine     ANOSH AHMED         June 14, 2021 a wire transmission of
              and                           approximately $149,999.99 from
            HEATHER                         Bank D to Bank B, processed
           BERGDAHL                         through servers located outside the
                                            state of Illinois, which funds
                                            represented the proceeds of a
                                            Hospital A check issued to
                                            Medlabs USA

 Ten      ANOSH AHMED         June 15, 2021 a wire transmission of
              and                           approximately $54,888.99 from
            HEATHER                         Bank D to Bank B, processed
           BERGDAHL                         through servers located outside the
                                            state of Illinois, which funds
                                            represented the proceeds of a
                                            Hospital A check issued to
                                            Midwest Medical Supplies USA

Eleven    ANOSH AHMED          August 23,    a wire transmission of
              and                2021        approximately $15,082.60 from
            HEATHER                          Bank D to Bank B, processed
           BERGDAHL                          through servers located outside the
                                             state of Illinois, which funds
                                             represented the proceeds of a
                                             Hospital A check issued to
                                             Medlabs USA

Twelve    ANOSH AHMED          August 23,    a wire transmission of
              and                2021        approximately $29,999.99 from
            HEATHER                          Bank D to Bank B, processed
           BERGDAHL                          through servers located outside the
                                             state of Illinois, which funds
                                             represented the proceeds of a
                                             Hospital A check issued to Chicago
                                             Promotions


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 Count       Defendants           Date         Writing, Sign, and Signal
Thirteen   ANOSH AHMED         December 2,     a wire transmission of
                and               2021         approximately $27,825.99 from
             HEATHER                           Bank D to Bank B, processed
            BERGDAHL                           through servers located outside the
                                               state of Illinois, which funds
                                               represented the proceeds of a
                                               Hospital A check issued to Illinois
                                               Biotech

Fourteen     HEATHER             March 7,      a wire transmission of
             BERGDAHL             2022         approximately $8,678 from Bank D
                                               to Bank C, processed through
                                               servers located outside the state of
                                               Illinois, which funds represented
                                               the proceeds of a Hospital A check
                                               issued to Vendor A


   In violation of Title 18, United States Code, Section 1343.




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                COUNTS FIFTEEN THROUGH TWENTY-FOUR

      The SPECIAL JANUARY 2023 GRAND JURY further charges that:

      1.      The allegations of paragraphs 1(a) through (d) of Counts One through

Fourteen are incorporated here.

      2.      On or about the dates set forth below, at Chicago, in the Northern

District of Illinois, and elsewhere, the defendants, as set forth below, each being an

agent of Hospital A, embezzled, stole, obtained by fraud and otherwise without

authority knowingly converted to the use of a person not the rightful owner, and

intentionally misapplied, property worth at least $5,000 and owned by and under the

care, custody and control of Hospital A, namely, payments issued by Hospital A in

the following amounts, with each payment constituting a separate count:

   Count         Defendants            Date                    Payment
   Fifteen     ANOSH AHMED         April 10, 2020   approximately $102,350 through
                    and                                 a check made payable to
                 HEATHER                            Shenzhen Medical Supplies, Ltd.
                BERGDAHL
   Sixteen       HEATHER           May 08, 2020     approximately $14,400 through a
                BERGDAHL                            check made payable to Vendor C

  Seventeen    ANOSH AHMED         July 31, 2020    approximately $150,000 through
                   and                                  a check made payable to
                 HEATHER                            Shenzhen Medical Supplies, Ltd.
                BERGDAHL
  Eighteen     ANOSH AHMED           August 28,      approximately $6,240 through a
                   and                 2020              check made payable to
                 HEATHER                                  Mideast Contractors
                BERGDAHL
  Nineteen     ANOSH AHMED           August 31,     approximately $90,000 through a
                   and                 2020         check made payable to Shenzhen
                 HEATHER                                 Medical Supplies, Ltd.
                BERGDAHL




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   Count          Defendants              Date                    Payment
   Twenty         HEATHER               October 9,        approximately $48,930.20
                  BERGDAHL                2020         through a check made payable to
                                                         Unified Wellness Specialists

 Twenty-One       HEATHER               October 16,    approximately $10,000 through a
                  BERGDAHL                 2020        check made payable to Vendor B

 Twenty-Two       HEATHER               January 21,    approximately $30,299 through a
                  BERGDAHL                 2021         check made payable to Allegra
                                                              Pharmaceuticals

   Twenty-        HEATHER               March 10,      approximately $30,127 through a
    Three         BERGDAHL                2021         check made payable to Optimum
                                                                 Bioscience

   Twenty-        HEATHER              March 3, 2022   approximately $8,678 through a
    Four          BERGDAHL                             check made payable to Vendor A


      In violation of Title 18, United States Code, Section 666(a)(1)(A); and

      2.     On or about the dates set forth above, at Chicago, in the Northern

District of Illinois, and elsewhere,

                                  SAMEER SUHAIL,

defendant herein, did knowingly aid and abet the offenses set forth in Counts Fifteen,

Seventeen, Nineteen, Twenty, Twenty-Two, and Twenty-Three;

      In violation of Title 18, United States Code, Sections 666(a)(1)(A) and 2.




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              COUNTS TWENTY-FIVE THROUGH THIRTY-FIVE

      The SPECIAL JANUARY 2023 GRAND JURY further charges that:

      1.     The allegations of paragraphs 1(a), (b), and (d) of Counts One through

Fourteen are incorporated here.

      2.     On or about the dates set forth below, at Chicago, in the Northern

District of Illinois, and elsewhere,

                               HEATHER BERGDAHL,

defendant herein, being an agent of Hospital A, embezzled, stole, obtained by fraud

and otherwise without authority knowingly converted to the use of a person not the

rightful owner, and intentionally misapplied, property worth at least $5,000 and

owned by and under the care, custody and control of Hospital A, namely, payments

issued by Hospital A in the following amounts, with each payment constituting a

separate count:

   Count              Date                              Payment
   Twenty-         June 11, 2021         approximately $149,999.99 through a check
    Five                                       made payable to Medlabs USA

 Twenty-Six        June 12, 2021       approximately $29,999.99 through a check made
                                               payable to Chicago Promotions

   Twenty-         June 15, 2021       approximately $79,999.99 through a check made
    Seven                                        payable to Illinois Biotech

   Twenty-         June 15, 2021       approximately $54,888.99 through a check made
    Eight                                   payable to Midwest Medical Supplies

   Twenty-        August 23, 2021      approximately $15,082.60 through a check made
    Nine                                         payable to Medlabs USA




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    Count           Date                                Payment
    Thirty      August 23, 2021         approximately $29,999.99 through a check for
                                            made payable to Chicago Promotions

 Thirty-One     August 23, 2021        approximately $13,999.98 through a check made
                                                 payable to Illinois Biotech

 Thirty-Two       November 29,         approximately $31,866.78 through a check made
                     2021                        payable to Medlabs USA

   Thirty-        November 29,         approximately $29,999.99 through a check made
   Three             2021                      payable to Chicago Promotions

 Thirty-Four      November 29,         approximately $27,825.99 through a check made
                     2021                        payable to Illinois Biotech

 Thirty-Five      November 29,         approximately $22,875.99 through a check made
                     2021                   payable to Midwest Medical Supplies


      In violation of Title 18, United States Code, Section 666(a)(1)(A); and

      3.      On or about the dates set forth above, at Chicago, in the Northern

District of Illinois, and elsewhere,

                                   ANOSH AHMED,

defendant herein, did knowingly aid and abet these offenses;

      In violation of Title 18, United States Code, Sections 666(a)(1)(A) and 2.




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                               COUNT THIRTY-SIX

     The SPECIAL JANUARY 2023 GRAND JURY further charges:

      1.     The allegations of paragraphs 1(a) through (c), 1(e), and 1(h) of Counts

One through Fourteen are incorporated here.

      2.     At times material to the indictment:

             a.    Defendants AHMED and MILLER were authorized by Hospital

A to award and approve contracts on behalf of the hospital, including contracts in

which vendors agreed to provide goods and services to Hospital A in exchange for

money.

             b.    Defendants AHMED and MILLER were authorized by Hospital

A to award business on behalf of the hospital, including business for purchases of

necessary and reasonable services.

             c.    Defendant SUHAIL created or caused to be created, and owned

and/or operated multiple medical supply and service entities, including:

                   i.     One Health Billing Co. (“One Health”), incorporated in

Delaware in or around September 2018;

                   ii.    Pan Optic Imaging LLC (“Pan Optic”), registered as an

Illinois foreign corporation on or about June 11, 2018; and

                  iii.    SKS Healthcare Management Group Ltd. (“SKS HMG”),

incorporated in Illinois on or about February 19, 2019.




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      2.     Beginning in or around October 2018, and continuing through in or

around March 2021, in the Northern District of Illinois, Eastern Division, and

elsewhere,

                                 ANOSH AHMED,
                               SAMEER SUHAIL, and
                                GEORGE MILLER,

defendants herein, did knowingly conspire:

             a.     to corruptly solicit and demand, and to accept and agree to accept

from another person, namely SUHAIL, things of value, including checks and money

transfers, for the benefit of AHMED and MILLER, agents of Hospital A, intending

that AHMED and MILLER be influenced in connection with any business,

transaction, and series of transactions of Hospital A involving things of value of

$5,000 or more, namely, the award of Hospital A contracts and other business to

SUHAIL-affiliated entities and the payment of Hospital A proceeds to SUHAIL and

his affiliated entities purportedly for goods and services, in violation of Title 18,

United States Code, Section 666(a)(1)(B); and

             b.     to corruptly give, offer, and agree to give things of value, including

checks and money transfers, for the benefit of AHMED and MILLER, with the intent

to influence AHMED and MILLER, as agents of Hospital A, in connection with any

business, transaction, and series of transactions of Hospital A involving things of

value of $5,000 or more, namely, the award of Hospital A contracts and other business

to SUHAIL-affiliated entities and the payment of Hospital A proceeds to SUHAIL

and his affiliated entities for purported goods and services, in violation of Title 18,

United States Code, Section 666(a)(2).
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                       Manner and Means of the Conspiracy

       3.     It was part of the conspiracy that, for the purpose of influencing AHMED

and MILLER in connection with the award of Hospital A contracts and other business

to SUHAIL-affiliated entities and causing Hospital A to issue Hospital A vendor

payments to SUHAIL and his affiliated entities, SUHAIL agreed to provide AHMED

and MILLER with things of value, including money transfers and checks.

       4.     It was further part of the conspiracy that, in or before October 2018,

SUHAIL agreed to pay AHMED a portion of the profits for Hospital A business,

including contracts, that AHMED caused Hospital A to award to SUHAIL and his

affiliated entities.

       5.     It was further part of the conspiracy that AHMED advised MILLER

about SUHAIL’s agreement to pay AHMED a portion of the profits for Hospital A

contracts and business that AHMED and MILLER awarded to SUHAIL and his

affiliated entities, and AHMED agreed to pay MILLER a portion of the payments

from SUHAIL in exchange for MILLER’s help and agreement in (a) awarding,

approving and concealing Hospital A contracts and business to SUHAIL-affiliated

entities, and (b) facilitating continued payments to the SUHAIL-affiliated entities.

       6.     It was further part of the conspiracy that AHMED and MILLER agreed

to use their positions at Hospital A to award Hospital A contracts and other business

to SUHAIL-affiliated entities, and to facilitate regular payments to the SUHAIL-

affiliated entities.




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      7.     It was further a part of the conspiracy that AHMED and MILLER

agreed to use their positions at Hospital A to award contracts and business to

SUHAIL-affiliated entities without putting those contracts or business up for bids

from competing vendors, obtaining competing proposals and pricing, considering

appropriate market prices for the goods and services obtained through those

contracts, or assessing the experience and ability of the SUHAIL-affiliated entities to

provide goods or services that met Hospital A’s needs.

      8.     It was further part of the conspiracy that AHMED agreed to use his

position at Hospital A to facilitate the issuance of Hospital A vendor payments to

SUHAIL and his affiliated entities, including American International Clinical Group

Ltd. and Shenzhen Medical Supplies.

      9.     It was further part of the conspiracy that AHMED and MILLER

concealed from the Hospital A Board members and other employees of Hospital A

that SUHAIL was the source of multiple contracts and business, that the payments

for each entity were payments to SUHAIL, the total amounts of the payments to

SUHAIL, and that AHMED and MILLER had conflicts of interest with regard to

those contracts and business.

      10.    It was further part of the conspiracy that, between October 15, 2018 and

June 1, 2019, AHMED and MILLER caused to be awarded three contracts to

SUHAIL-affiliated entities. These contracts included:

             a.     a contract with One Health dated October 15, 2018, pursuant to

which One Health was to provide billing, claim management, and collection services



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to Hospital A for an indefinite period absent either party’s termination notice, for a

payment from Hospital A of 5.25% of the collections, which was amended on or about

June 1, 2019 to increase the percentage that Hospital A paid to One Health for

collections from 5.25% to 6%, and established the term of the contract as five years

with an automatic renewal provision.

             b.     a contract with Pan Optic dated April 15, 2019, for a 10-year lease

and purchase agreement, which was automatically renewable for five-year terms

absent termination notice, pursuant to which Pan Optic leased magnetic resonance

imaging (“MRI”) equipment to Hospital A.

             c.     a contract with SKS HMG dated June 1, 2019, for a three-year,

automatically renewable term, pursuant to which SKS HMG was to provide

administrative and management services for Hospital A’s laboratory services.

      11.    It was further part of the conspiracy that, as a result of the contracts

that they awarded to three SUHAIL-affiliated entities, AHMED and MILLER caused

Hospital A to transfer at least $19,000,000 into various SUHAIL-controlled bank

accounts, including:

             a.     a total of approximately $8.3 million paid to One Health between

approximately October 2018 and October 2021;

             b.     a total of approximately $1.6 million paid to Pan Optic and

approximately     $200,000   to   entities   associated   with   Pan   Optic,   between

approximately October 2018 and February 2022; and




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              c.       a total of approximately $6.1 million paid to SKS HMG between

approximately June 2019 and March 2022.

       12.    It was further part of the conspiracy that SUHAIL prepared and

submitted and caused to be prepared and submitted to Hospital A multiple invoices

requesting payments to American International Clinical Group Ltd. and Shenzhen

Medical Supplies, for goods and services that Hospital A had in fact not received. As

a result of these vendor payment requests, Hospital A paid approximately $3,685,000

to SUHAIL-controlled entities, including:

              a.       a total of approximately $985,000 paid to American International

Clinical Group Ltd. between approximately April 2020 and March 2021; and

              b.       a total of approximately $2.7 million paid to Shenzhen Medical

Supplies between approximately April 2020 and September 2020.

       13.    It was further part of the conspiracy that, for the purpose of influencing

AHMED in connection with the Hospital A contracts, business and payments that

AHMED and MILLER awarded to SUHAIL-affiliated entities, including One Health,

Pan Optic, SKS HMG, American International Clinical Group Ltd., and Shenzhen

Medical Supplies, SUHAIL paid AHMED a portion of the profits for each Hospital A

contract, business, or payment that AHMED and MILLER awarded to SUHAIL and

a portion of the profits for other SUHAIL-affiliated entities, in an amount totaling

millions of dollars.

       14.    It was further part of the conspiracy that, after receiving payments from

SUHAIL in exchange for awarding Hospital A contracts and business and payments



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to SUHAIL-affiliated entities, AHMED paid MILLER a portion of the funds he

received from SUHAIL, including:

             a.     a total of approximately $700,000 paid directly to MILLER; and

             b.     a total of approximately $69,000 paid to MILLER through

Individual D.

      15.    It was further part of the conspiracy that, for the purpose of influencing

MILLER in connection with MILLER’s role in facilitating awards of Hospital A

contracts, business, and payments to SUHAIL-affiliated entities, SUHAIL made

payments directly to MILLER in 2021 totaling approximately $7,300.

      16.    It was further part of the conspiracy that AHMED and MILLER caused

Hospital A to pay approximately $19.6 million to One Health, Pan Optic, SKS HMG,

American International Clinical Group Ltd., and Shenzhen Medical Supplies.

      17.    It was further part of the conspiracy that AHMED, SUHAIL, and

MILLER and their co-conspirators misrepresented, concealed and hid, and caused to

be misrepresented, concealed and hidden, and attempted to misrepresent, conceal

and hide acts done in furtherance of the conspiracy and the purpose of those acts.

                                      Overt Acts

      18.    It was further part of the conspiracy that AHMED, SUHAIL, MILLER,

and their co-conspirators committed and caused to be committed one or more overt

acts, within the Northern District of Illinois and elsewhere, in furtherance of and to

affect the objects of the conspiracy, including but not limited to the following:




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            a.      On or about October 15, 2018, AHMED and MILLER approved

and awarded a contract to One Health, in which One Health agreed to provide billing,

claim management, and collection services to Hospital A in exchange for

approximately 5.25% of the collections, with an indefinite term until notice of

termination.

               b.   On or about November 28, 2018, SUHAIL wire transferred

approximately $194,818 from a Bank A account ending in 9898 controlled by SUHAIL

to a Bank B account ending in 8574 controlled by AHMED.

               c.   On or about November 29, 2018, AHMED issued a check payable

to MILLER in the amount of $375, from a Bank B account ending in 8529 that

AHMED controlled and held in the name of Global Healthcare Consulting Group.

               d.   On or about February 7, 2019, SUHAIL wire transferred

approximately $73,782 from a Bank A account ending in 9898 controlled by SUHAIL

to a Bank B account ending in 8529 controlled by AHMED.

               e.   On or about February 8, 2019, AHMED issued a check payable to

MILLER, in the amount of $11,000, from a Bank B account ending in 8529 that

AHMED controlled and held in the name of Global Healthcare Consulting Group.

               f.   On or about March 1, 2019, SUHAIL made two wire transfers,

each in the amount of $1,900, from a Bank A account ending in 9898 controlled by

SUHAIL to a Bank A account ending in 8205 controlled by MILLER.

               g.   On or about April 15, 2019, AHMED and MILLER approved and

awarded a contract to Pan Optic, pursuant to which Pan Optic leased magnetic



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resonance imaging (“MRI”) equipment to Hospital A for a ten-year period with a

purchase option, which was automatically renewable for five-year terms absent

termination notice, and pursuant to which Hospital A agreed to pay Pan Optic a

rental rate of $325 for each MRI scan.

             h.    On    or   about   May     7,   2019,   SUHAIL   wire   transferred

approximately $79,500 from a Bank A account ending in 9898 controlled by SUHAIL

to a Bank B account ending in 8529 controlled by AHMED.

             i.    On or about May 8, 2019, AHMED issued a check payable to

MILLER, in the amount of approximately $10,000, from a Bank B account ending in

8529 that AHMED controlled and held in the name of Global Healthcare Consulting

Group.

             j.    On or about June 1, 2019, AHMED and MILLER approved and

awarded a contract to SKS HMG, pursuant to which SKS HMG was to provide

administrative and management services for Hospital A’s laboratory services for a

three-year, automatically renewable term, and pursuant to which Hospital A agreed

to pay SKS HMG $1,300,000 per year.

             k.    On or about June 1, 2019, AHMED and MILLER approved and

awarded an amended contract to One Health, increasing the payment due to One

Health from 5.25% to 6% of collections, and setting a contract term of five years with

an automatic renewal provision.

             l.    On or about June 5, 2019, AHMED sent a text message to

MILLER, providing MILLER with updated amounts that MILLER would receive



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each month, including $5,000 a month related to Hospital A’s payments to One

Health; $2,000 a month related to Hospital A’s payments to American International

Clinical Group Ltd.; $1,000 a month related to Hospital A’s payments to Pan Optic;

and $4,000 a month related to Hospital A’s payments to SKS.

            m.    On or about August 12, 2019, SUHAIL wire transferred

approximately $108,000 from a Bank A account ending in 9898 controlled by SUHAIL

to a Bank B account ending in 8529 controlled by AHMED.

            n.    On or about August 15, 2019, AHMED issued a check payable to

MILLER in the amount of approximately $7,000, from a Bank B account ending in

8529 controlled by AHMED.

            o.    On or about July 16, 2020, SUHAIL wire transferred

approximately $72,728 from a Bank A account ending in 9898 controlled by SUHAIL

to a Bank B account ending in 8529 controlled by AHMED.

            p.    On or about July 20, 2020, AHMED issued a check payable to

MILLER in the amount of approximately $10,000, from a Bank B account ending in

8529 controlled by AHMED.

            q.    On or about January 7, 2021, SUHAIL wire transferred

approximately $76,000 from a Bank A account ending in 9898 controlled by SUHAIL

to a Bank B account ending in 8529 controlled by AHMED.

            r.    On or about January 7, 2021, AHMED issued a check made

payable to MILLER, in the amount of approximately $8,750, from a Bank B account




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ending in 8529 that AHMED controlled and held in the name of Global Healthcare

Consulting Group.

            s.      On   or about April       9, 2021,   SUHAIL        wire transferred

approximately $3,500 from Bank A account ending in 8950 controlled and held by

SUHAIL in the name of Meridien Physician Group, PLCC to Bank A account ending

in 8205 controlled by MILLER.

            t.      On or about April 28, 2021, in response to an email from a

Hospital A employee alerting MILLER that Hospital A’s auditors were asking for

verification that Hospital A received goods in the amounts reflected on Shenzhen

Medical Supplies invoices, MILLER stated “We have the inventory, I will sign that

documents that we have that amount of inventory.”

      All in violation of Title 18, United States Code, Section 371.




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              COUNTS THIRTY-SEVEN THROUGH FORTY-TWO

      The SPECIAL JANUARY 2023 GRAND JURY further charges that:

      On or about the dates set forth below, in the Northern District of Illinois,

Eastern Division, and elsewhere, the defendants, as set forth below, knowingly

conducted and attempted to conduct the following financial transactions listed below,

namely, the transfer of United States currency from one bank account to another

bank account, in or affecting interstate and foreign commerce, each such financial

transaction constituting a separate count, which financial transactions involved the

proceeds of a specified unlawful activity, namely, wire fraud and embezzlement,

knowing that the transaction was designed in whole and in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of the

specified unlawful activity, and that while conducting such financial transactions, the

defendant knew that the property involved in the financial transactions represented

the proceeds of some form of unlawful activity:

    Count       Defendant            Date                Financial Transaction
    Thirty-      HEATHER          October 19,      a transfer of approximately $7,500
    Seven       BERGDAHL             2020          from an account held in the name of
                                                   Heather Bergdahl dba Vendor B
                                                   ending in 5327 at Bank C to an
                                                   account in the name of Heather L.
                                                   Bergdahl ending in 3313 at Bank C

 Thirty-Eight     ANOSH          June 22, 2021     a transfer of approximately $30,900
                  AHMED                            from Gold Oak Capital dba Chicago
                                                   Promotions account ending in 0103 at
                                                   Bank B to a Gold Oak Capital Account
                                                   ending in 8845 at Bank B




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  Count       Defendant          Date                 Financial Transaction
Thirty-Nine    ANOSH          June 22, 2021     a transfer of approximately $81,050
               AHMED                            from Gold Oak Capital dba Illinois
                                                Biotech account ending in 1584 at
                                                Bank B to a Gold Oak Capital Account
                                                ending in 8845 at Bank B
  Forty         ANOSH         June 23, 2021     a transfer of approximately $151,000
                AHMED                           Gold Oak Capital dba Medlabs
                                                account ending in 2358 at Bank B to
                                                Gold Oak Capital Account ending in
                                                8845 at Bank B

Forty-One      SAMEER        March 11, 2021     a transfer of approximately $30,000
               SUHAIL                           from a bank account at Bank A
                                                ending in 8081 held in the name of
                                                TherapeuticsMD Solutions, Inc. dba
                                                CoreRX, Converge Biotech and
                                                Optimum Bioscience to a bank
                                                account at Bank A ending in 9300
                                                held in the name of United Healthcare
                                                Investment Group

Forty-Two      SAMEER        March 12, 2021     a transfer of approximately $31,000
               SUHAIL                           from a bank account at Bank A
                                                ending in 8081 held in the name of
                                                TherapeuticsMD Solutions, Inc. dba
                                                CoreRX, Converge Biotech and
                                                Optimum Bioscience to a bank
                                                account at Bank A ending in 9300
                                                held in the name of United Healthcare
                                                Investment Group


    In violation of 18 United States Code Section 1956(a)(1)(B)(i).




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                             COUNT FORTY-THREE

      The SPECIAL JANUARY 2023 GRAND JURY further charges that:

      On or about April 10, 2019, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 ANOSH AHMED,

defendant herein, willfully made and subscribed a United States Individual Income

Tax Return (Form 1040 with schedules and attachments) for the calendar year 2018,

which return was verified by a written declaration that it was made under penalties

of perjury, and filed with the Internal Revenue Service, which return defendant did

not believe to be true and correct as to every material matter, in that defendant

falsely represented and stated on said return:

             a.   On Form 1040, line 6, that the total income was $647,256, when

defendant knew and believed that his total income substantially was in excess of the

amount reported on the return; and

             b.    On Form 1040, line 15, that the total tax was $195,876, when

defendant knew and believed that the total tax owed exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(1).




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                              COUNT FORTY-FOUR

      The SPECIAL JANUARY 2023 GRAND JURY further charges that:

      On or about June 25, 2020, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 ANOSH AHMED,

defendant herein, willfully made and subscribed a United States Individual Income

Tax Return (Form 1040 with schedules and attachments) for the calendar year 2019,

which return was verified by a written declaration that it was made under penalties

of perjury, and filed with the Internal Revenue Service, which return defendant did

not believe to be true and correct as to every material matter, in that defendant

falsely represented and stated on said return:

             a.   On Form 1040, line 7b, that the total income was $728,651, when

defendant knew and believed that his total income was in excess of the amount

reported on the return; and

             b.    On Form 1040, line 16, that the total tax was $217,883, when

defendant knew and believed that the total tax owed exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(1).




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                              COUNT FORTY-FIVE

      The SPECIAL JANUARY 2023 GRAND JURY further charges that:

      On or about October 15, 2021, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 ANOSH AHMED,

defendant herein, willfully made and subscribed a United States Individual Income

Tax Return (Form 1040 with schedules and attachments) for the calendar year 2020,

which return was verified by a written declaration that it was made under penalties

of perjury, and filed with the Internal Revenue Service, which return defendant did

not believe to be true and correct as to every material matter, in that defendant

falsely represented and stated on said return:

             a.   On Form 1040, line 9, that the total income was $995,110, when

defendant knew and believed that his total income substantially was in excess of the

amount reported on the return; and

             b.    On Form 1040, line 24, that the total tax was $309,154, when

defendant knew and believed that the total tax owed exceeded that amount;

      In violation of Title 26, United States Code, Section 7206(1).




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                       FORFEITURE ALLEGATION ONE

      The SPECIAL JANUARY 2023 GRAND JURY further alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Sections 666(a)(1)(A) and 1343, as set forth in this Indictment, defendants shall

forfeit to the United States of America any property which constitutes and is derived

from proceeds traceable to the offense, as provided in Title 18, United States Code,

Section 981(a)(1)(C), and any property traceable to such property, as provided in Title

18, United States Code, Section 982(a)(1).

      2.     The property to be forfeited includes, but is not limited to, a personal

money judgment in the amount of approximately $15,912,375.

      3.     If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence, has been

transferred or sold to, or deposited with, a third party, has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, the

United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code, Section 853(p).




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                        FORFEITURE ALLEGATION TWO

      The SPECIAL JANUARY 2023 GRAND JURY further alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 1956(a)(1)(B)(i), as set forth in this Indictment, defendant shall forfeit to the

United States of America any property involved in such offense, and any property

traceable to such property, as provided in Title 18, United States Code, Section

982(a)(1).

      2,     If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, the

United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code, Section 853(p).




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                     FORFEITURE ALLEGATION THREE

      The SPECIAL JANUARY 2023 GRAND JURY further alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 371, conspiracy to violate Title 18 United States Code, Sections 666(a)(1)(B)

and 666(a)(2), as set forth in this Indictment, defendants shall forfeit to the United

States of America any property which constitutes and is derived from proceeds

traceable to the offense, as provided in Title 18, United States Code, Section

981(a)(1)(C), and Title 28, United States Code, Section 2461(c).

      2.     The property to be forfeited includes, but is not limited to, a personal

money judgment.

      3.     If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence, has been

transferred or sold to, or deposited with, a third party, has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, the

United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code, Section 853(p).

                                               A TRUE BILL:



                                               FOREPERSON




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